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TNW

Murreli, Benjamin

 

 

 

 

 

 

 

 

 

 

  
  

          
    

 

 

   

 

       
  
 
 
  
 
 
 
 
   
   
  
  

3. MAG. DKT.IDEF. NUMBER 4. DIST. DKT.!DEF. NUMBER 5. APPEALS DKTJDEF. NUMBER 6. OTHER DKT. NUMBER
2:05~020238-001
'l'. IN CASE/'MAT'I`ER OF (Case Narne) 8. PAYMENT CATEGORY 9. TYPE PERSON REPRESENTED ll]. REF RESENTATION TYPE
U S M l (Seelnstructions)
. . v. urre i Felony Adult Defendant Criminal Case
ll. OFFENSE(S] CH ARGED (Cile U. S. Code, Titll! & Sechtm) Il'mnre than one oHense. list (up to live) major o!'fmsel charged according tn severity of uiTense '€2
l) 18 922G. F -- UNLAWFUL TRANSPORT/POSSESS/RECEIVE FIREARMS THROUGH IN'I`ERSTATE COMM}Y{CE X>.)
12. ATTORNEY'S NAME Flrst Name, M.I., Last Name,includiog any sumx) 13. COURT ORDER nn w
AND MAIL|NC AI)I)RI':`.§Sl 0 Appointing Counsei I:I C Co-Counsel
QUI_NN, ARTHUR E. i:| F SubsFor FederalDefender l:l R Suhanr Reteined
SUITE 300 [] P Subs For l’anel Attoflley \:i Y Standby Cuunsel
1661 [NT'NL. PLDRlVE Prior Attorney's Name:
MEMPHIS TN 38120 Appointmeot lJate: __
i:l Beeallse the above-named person represented has testified under oath or ha(" ;'
otherwise satisfied litil court that he or she (1) ls lin - - unable to employl cmnsdjnd / cb
Telephone Numiler: (2) does not Wiah to waive cou ‘ ' n ~ \ . use lis llterest.l - justice so require the /v;_ ftc 'S ‘“._9; ”) 0
- t o \. lt li »” ”
14. NAME AND MAILlNG ADDRESS OF LAW FIRM [onl)l provide per lnslructiuns) ::wr 2 m minn ll person int ls tug //€) 9
|:r] (lther( ee| 67 é:/\
Sigoatnre o Prel - ng Judieial Oi’lle€r or By Order oftlse Court
nE/?Q/')nn€
Dlie ofUrder Nunc Pro Tunc l]ate
Repayrnent or partial repayment ordered from the person represented for this s ervice et
time of appointment. YES i:] NO

 

 

1._.-_\` .»,,. »lsé»,l-_s

ADDlTI()NAL

CATEGOR]ES (Attal:h itemization ol' services with dates) REVIEW

 

15. a. Arraignment andfor Piea

b. Bai| and Detention Hearings
c. Motlon Hearlngs

d. Trial

e. Sentenctng Hearlngs

 

 

 

 

 

f. Revocation Hearings

 

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g. Appea|s Court
h. Otiter (Spectfy on additional sheete)

 

 

 

(Rate per hour = $ ) 'I`OTALS:
a. lnterviews and Conferences

 

 

b. Ohtainlng and reviewing records

 

c. Legai research and brief writing

 

d. Trave| time

 

e. lnvestigativ e and Other work (speciry nn addition-l sh¢¢t=)

 

.-»-.l:=q -.;. »l:o a

(Rate per hour - 5 ) TOTALS:

 

 

 

 

17. Travel Expenses (|odging, parking, meals, mileage. etc.)

 

 

 

 

Other Experlses

 

(other than expert transcriptl, etc.)

 

t .,.

 

 

 

 

 

19. CERTIFICAT.[ON OF ATTORNEYJ‘PAYEE FOR 'I`HE PER.IOD O F SERVICE 20. APPO|N’E'MENT TERM|NATION ]JATE 21. CASE DlSPO SITION
IF OTHER THAN CASE COMPLETION
FROM ____ m _,_,_,,_,__,__,__
21 CLAIM STATUS I:] Final Payment ij interim Payment Numi:ler _ U'Sup lementai Payrrlent
lisve you previously applied to the court fm compensation motor remlmhurseluent for this eese'.' |:i YES NO lfyes, were you paid'.1 l:| YES i:] NO
Other than from the courl, have you, or to your knowledge hal anyone else, received payment (comp¢n.nlion or anything or value] from any other source in connection with this
representation'.’ m YES [] NO ifyel, give details on additional sheets.

l swear or affirm the truth or correctness of tile above slatements.

Date'.
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23. lN comm coMP. 24. ou'ror COURT CoMP. 25. Tluvl:l. ExPl:NsES 26. 0THER ExPl:NSEs 21 rome ,\m. ,m\nrccm
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Th!a document entered on the docket
"**1 Fiu|e 55 and/or 32(b) FFlCrP on

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
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Stephen P. Hall

U.S. ATTORNEY'S OFFICE
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Ste. 800

Memphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

